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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                       :
JAKUB MADEJ                                            :
                                                       :       CIVIL ACTION NO.
                       PLAINTIFF                       :       3:20-cv-00133-JCH
                                                       :
v.                                                     :
                                                       :
YALE UNIVERSITY, MARVIN CHUN,                          :
MARK SCHENKER, PETER SALOVEY AND                       :
JESSIE ROYCE HILL                                      :
                                                       :
       DEFENDANTS                                      :
                                                       :       NOVEMBER 18, 2020

                      DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                    NOTICE AND MOTION REGARDING DISCOVERY

       The plaintiff filed a pleading dated November 9, 2020 entitled “Plaintiff’s Notice and

Motion Regarding Discovery” (ECF No. 182.) It is unclear the precise relief the plaintiff is

seeking, but it seems that the plaintiff is requesting an order relating to the following:

       1.      An order seeking to extend the time for the plaintiff to propound discovery requests

to “the week of November 9, 2020;”

       2.      A Motion for Reconsideration to require that depositions proceed before the

plaintiff has fully complied with the outstanding discovery requests filed by the defendants; and

       3.      An order reversing the Court’s prior order that affidavits need not be filed by

counsel every time a discovery motion or response is filed.

       With respect to the plaintiff’s first request, there is no basis for the plaintiff’s request to

“seek additional paper discovery.” See Plaintiff’s Notice and Motion at p. 2. The parties have

already engaged in extensive paper discovery, and the plaintiff has offered no justification for

being given the opportunity to propound further discovery requests. Furthermore, the time period
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when the plaintiff stated he would propound his requests – “the week of November 9, 2020” – had

already expired when he uploaded to the designated drop box his November 14, 2020 requests for

production directed to Yale University. Accordingly, the plaintiff’s request to propound additional

paper discovery should be denied.

         The plaintiff’s request for reconsideration of the Court’s prior order, which contemplated

that all paper discovery would be completed before depositions were initiated, should be denied.

While the plaintiff claims that the defendants’ position on this issue was motivated by a “dilatory

purpose,” the fact is that the Court previously noted that the customary practice in this District is

that paper discovery should be completed before responses are commenced. See, April 2, 2020

ruling, ECF No. 72. While the plaintiff claims that “circumstances warrant the heightened standard

required for motions for reconsideration,” the plaintiff’s submission is completely silent on what

circumstances exist in the present case that would justify reconsideration in connection with this

issue.

         The plaintiff also requests that the Court reconsider a second issue when he requests that

the parties be ordered to file a sworn affidavit with every discovery motion and response to every

discovery motion from this point forward. See, Plaintiff’s Notice and Motion, pg. 3-4. The Court

previously noted that there is no requirement that an affidavit accompany every discovery motion

or response. See, October 26, 2020 ruling, ECF No. 174, p. 15. Once again, the plaintiff has failed

to even attempt to meet the exacting standard required when filing a motion for reconsideration.

Accordingly, this motion should also be denied.

                                         CONCLUSION

         For the reasons stated, all of the motions contained within plaintiff’s “Notice and Motion

Regarding Discovery” should be denied.



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                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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